
662 S.E.2d 552 (2008)
Janet L. YOUNG
v.
Howard L. GUM, Gum &amp; Hillier, P.A., and Donna Cooper.
No. 494P07.
Supreme Court of North Carolina.
April 10, 2008.
William E. Loose, Asheville, for Janet Young.
William A. Parker, Robert B. Long, Jr., Asheville, for Gum, et al.
*553 Prior report: ___ N.C.App. ___, 649 S.E.2d 469.

ORDER
Upon consideration of the petition filed on the 8th day of October 2007 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 10th day of April 2008."
MARTIN, J., recused.
